       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24    Page 1 of 33




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 IN THE MATTER OF THE TAX
 LIABILITIES OF:

 JOHN DOES, United States taxpayers who, at any
 time during the years ended December 31, 2014,                No. 24 Misc. 594
 through December 31, 2023, used the services of
 the Trident Trust Group, including its predecessors,
 subsidiaries, divisions, affiliates, and associates to
 establish, maintain, operate, or control any foreign
 financial account or other foreign asset; any foreign
 corporation, company, trust, foundation or other
 legal entity; or any foreign or domestic financial
 account or other asset in the name of such foreign
 entity.


MEMORANDUM OF LAW IN SUPPORT OF THE UNITED STATES OF AMERICA’S
   EX PARTE PETITION FOR LEAVE TO SERVE JOHN DOE SUMMONSES




                                                          EDWARD Y. KIM
                                                          Acting United States Attorney
                                                          Southern District of New York
                                                          Attorney for Petitioner
                                                          United States of America
                                                          86 Chambers Street, Third Floor
                                                          New York, New York 10007
                                                          Tel: (212) 637-2810


ANTHONY J. SUN
Assistant United States Attorney
       – Of Counsel –
          Case 1:24-mc-00594-JPC                          Document 3                Filed 12/17/24               Page 2 of 33




                                                   TABLE OF CONTENTS

                                                                                                                                   PAGE(s)

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................3

I.        U.S. Taxpayers Must Report Foreign Income and Disclose Foreign Financial Accounts
          and Entities...........................................................................................................................3

II.       Offshore Tax Evasion ..........................................................................................................4

III.      The TT-Group ......................................................................................................................7

          A.         The TT-Group Offers Services that Enable U.S. Clients to Conceal Assets ...........7

          B.         Information from Other Sources Corroborates the IRS’s Belief that U.S.
                     Taxpayers Use the TT-Group to Evade U.S. Taxes...............................................10

IV.       The Summonses .................................................................................................................10

ARGUMENT .................................................................................................................................14

I.        The Investigation Concerns an Ascertainable Class ..........................................................17

II.       There Is a Reasonable Basis to Believe that the John Doe Class May Have Failed to
          Comply with U.S. Internal Revenue Laws ........................................................................19

III.      The Information Sought About the Target Class, Including the Identities of the Class’s
          Members, Is Not Readily Available from Other Sources ..................................................21

IV.       The Information Sought Is Narrowly Tailored to Information that Pertains to the Failure
          or Potential Failure of the John Doe Class to Comply with the Internal Revenue Laws ..23

CONCLUSION ..............................................................................................................................28
         Case 1:24-mc-00594-JPC                      Document 3             Filed 12/17/24            Page 3 of 33




                                             TABLE OF AUTHORITIES

CASES                                                                                                                 PAGE(s)

In re Tax Liabs. of John Does,
        No. 2:10-mc-00130-MCE-EFB, 2011 WL 6302284 (E.D. Cal. Dec. 15, 2011) .............. 18

In re Tax Liabs. of John Does,
        No. 03-22793-CIV, 2003 WL 22953182 (S.D. Fla. Oct. 30, 2003) ........................... 18, 21

In re Tax Liabs. of John Does,
        No. 09-cv-00861-REB, Dkt. No. 4 (D. Colo. Apr. 15, 2009)........................................... 18

In re Tax Liabs. of John Does (Agric. Asset Mgmt. Co.),
        688 F.2d 144 (2d Cir. 1982).............................................................................................. 19

In re Tax Liabs. of John Does (Am. Bankers Ins. Group),
        No. 03-cv-22793, 2003 WL 22953182 (S.D. Fla. Oct. 30, 2003) .................................... 21

In re Tax Liabs. of John Does (American Express),
        No. 00-cv-3919, 2000 WL 34538137 (S.D. Fla. Oct. 30, 2000) ...................................... 21

In re Tax Liabs. of John Does (Butterfield Bank),
        No. 13-mc-377-P1, Dkt. No. 3 (S.D.N.Y. Nov. 12, 2013) ............................................... 18

In re Tax Liabs. of John Does (Columbus Trade Exch.),
        671 F.2d 977 (6th Cir. 1982) ............................................................................................ 20

In re Tax Liabs. of John Does (HSBC Bank USA, N.A.),
        No. 11-cv-01686-PJH, Dkt. No. 10 (N.D. Cal. Apr. 7, 2011) .......................................... 22

In re Tax Liabs. of John Does (MasterCard Int’l),
        No. 02-22404-CIV, 2002 WL 32879613 (S.D. Fla. Aug. 20, 2002) ................................ 22

In re Tax Liabs. of John Does (Panama Offshore Legal Servs.),
        No. 21-mc-424, Dkt. No. 19 (S.D.N.Y. July 15, 2021) .................................................... 18

In re Tax Liabs. of John Does (Wegelin & Co.),
        No. 13-mc-00021-P1, Dkt. No. 4 (S.D.N.Y. Jan. 29, 2013) ............................................. 18

In re Tax Liabs. of John Does (Zurcher Kantonalbank (ZKB)),
        No. 13-mc-378-P1, Dkt. No. 3 (S.D.N.Y. Nov. 7, 2013) ..................................................18

Mensh v. United States,
      No. 08 Civ. 4162 (DLI) (ALC), 2009 WL 2242295 (E.D.N.Y. Jul. 27, 2009) ................ 17




                                                                 ii
           Case 1:24-mc-00594-JPC                          Document 3               Filed 12/17/24               Page 4 of 33




PAA Mgmt., Ltd. v. United States,
     962 F.2d 212 (2d Cir. 1992).............................................................................................. 15

Sergeeva v. Tripleton Int’l Ltd.,
       834 F.3d 1194 (11th Cir. 2016) ........................................................................................ 14

Tiffany Fine Arts, Inc. v. United States,
        469 U.S. 310 (1985) .......................................................................................................... 19

United States v. Arthur Young & Co.,
       465 U.S. 805 (1984) .......................................................................................................... 15

United States v. Bisceglia,
       420 U.S. 141 (1975) .......................................................................................................... 15

United States v. Davey,
       543 F.3d 996 (2d Cir. 1976).............................................................................................. 24

United States v. Euge,
       444 U.S. 707 (1980) .......................................................................................................... 15

United States v. Pittsburgh Trade Exch., Inc.,
       644 F.2d 302 (3d Cir. 1981).............................................................................................. 20

United States v. Powell,
       379 U.S. 48 (1964) ............................................................................................................ 24

United States v. Ritchie,
       15 F.3d 592 (6th Cir. 1994) .............................................................................................. 21

United States v. White,
       853 F.2d 107 (2d Cir. 1988).............................................................................................. 24


STATUTES

26 U.S.C. § 61 ................................................................................................................................. 3

26 U.S.C. § 6012 ............................................................................................................................. 3

26 U.S.C. § 6038 ............................................................................................................................. 9

26 U.S.C. § 6038D .......................................................................................................................... 4

26 U.S.C. § 6039F........................................................................................................................... 4

26 U.S.C. § 7601(a) ...................................................................................................................... 14


                                                                       iii
          Case 1:24-mc-00594-JPC                          Document 3               Filed 12/17/24               Page 5 of 33




26 U.S.C. § 7609(f) ................................................................................................................ passim

26 U.S.C. § 7609(f)(1) ............................................................................................................ 19, 23

26 U.S.C. § 7609(f)(3) .................................................................................................................. 23

26 U.S.C. § 7609(h)(1) ................................................................................................................. 16

31 U.S.C. § 5314 ............................................................................................................................. 4


REGULATIONS

26 C.F.R. § 1.6038-2(a) .............................................................................................................. 4, 9

31 C.F.R. § 1010.350 ...................................................................................................................... 4


OTHER AUTHORITIES

H.R. Rep. No. 94-658 (1975)........................................................................................................ 19

H.R. Rep No. 116-39 (2019)..........................................................................................................23

Interest and Ordinary Dividends (2023), Part III,
        https://www.irs.gov/pub/irs-prior/f1040sb--2023.pdf .........................................................4

U.S. Congress, Joint Committee on Taxation,
       Description of H.R. 1957, the “Taxpayer First Act of 2019” (2019),
       https://www.jct.gov/publications/2019/jcx-15-19/ ............................................................24




                                                                      iv
        Case 1:24-mc-00594-JPC           Document 3        Filed 12/17/24      Page 6 of 33




        The United States of America (the “Government”), on behalf of the Internal Revenue

Service (“IRS”), by its attorney, Edward Y. Kim, Acting United States Attorney for the Southern

District of New York, respectfully submits this memorandum of law in support of its ex parte

petition for leave to serve twelve “John Doe” summonses (the “Petition”) seeking information

from various entities located in this District relating to U.S. taxpayers who used the services of the

Trident Trust Group to evade their federal taxes by concealing assets and taxable income in

offshore tax havens.

                                PRELIMINARY STATEMENT

        The IRS has long been concerned with U.S. taxpayers who evade their federal tax

obligations by concealing taxable income in offshore tax havens or jurisdictions that provide for

financial secrecy. Some taxpayers use offshore service providers to conceal assets, often by

creating offshore entities, such as trusts, foundations, and corporations, and opening foreign

financial accounts. One such group of offshore service providers is the Trident Trust Group (“TT-

Group”), a multinational group of companies that operate under the common business name

“Trident.” TT-Group entities can be found in nearly thirty countries, including nearly every major

tax haven in the world. Through voluntary disclosure programs and other investigations, the IRS

has identified several clients of the TT-Group who appear to have used its services to unlawfully

evade U.S. taxes, including creating offshore entities and accounts in tax haven jurisdictions that

conceal the U.S. taxpayer’s income. Some of the services offered by TT-Group bear the hallmarks

of enabling unlawful tax evasion, including providing nominee directors, officers and trustees for

offshore entities and mail retention services for offshore accounts that avoid creating a domestic

paper trail.

        Through this Petition, the IRS seeks to obtain a more comprehensive list of the TT-Group’s

clients so that it can ascertain whether any of them owe additional U.S. taxes.
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 7 of 33




       As used herein and in the attached Declaration of Randy Hooczko (“Hooczko

Declaration”), the TT-Group includes entities in almost thirty jurisdictions, including five entities

in the United States. See Hooczko Declaration Appx. A. The IRS is seeking to identify the

following class of persons, all of whom are TT-Group clients:

               U.S. taxpayers who, at any time during the years ended December
               31, 2014, through December 31, 2023, used the services of the
               Trident Trust Group (“TT-Group”) to establish, maintain, operate,
               or control: any foreign financial account or other foreign asset; any
               foreign corporation, company, trust, foundation, or other legal
               entity; or any foreign or domestic financial account or other asset in
               the name of such foreign entity.

Hooczko Declaration ¶ 6. As part of its investigation, the IRS seeks to trace electronic fund

transfers and courier deliveries between the TT-Group and its clients, to identify the TT-Group’s

U.S. taxpayer clients who have failed to comply with their U.S. tax obligations.

       The IRS does not know the identity of the TT-Group’s U.S. clients, so it cannot summons

those clients directly, nor can it generally summons TT-Group entities without a U.S. presence.

Thus, to obtain the identities of TT-Group’s clients and records of their transactions with TT-

Group, the United States brings this ex parte proceeding under 26 U.S.C. § 7609(f) and (h) for

leave to serve John Doe summonses (collectively, the “Summonses”) on four groups of entities

based in this district: (1) courier services believed to have records relating to shipments between

TT-Group and its U.S. clients; (2) financial institutions believed to have records of electronic funds

transfers relating to U.S. clients of the TT-Group; (3) U.S. banks that maintain correspondent

accounts for foreign banks used by the TT-Group; and (4) an affiliated entity (Nevis Services




                                                  2
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 8 of 33




Limited) 1—all of which are expected to have records of transactions to help identify the TT-

Group’s U.S. clients.

       In addition, concurrent with this Petition, the United States is filing petitions in the U.S.

District Courts for the Northern District of Georgia and the District of South Dakota, to serve John

Doe summonses on the TT-Group entities based in those districts, seeking information regarding

the same class of clients. See Hooczko Decl. ¶ 8 (list of summonsed entities).

       The issuance of the Summonses is warranted because, as described in detail below, (i) they

relate to the investigation of an ascertainable group or class of persons, namely, U.S. taxpayers

who used the TT-Group’s services; (ii) there is a reasonable basis for believing these U.S.

taxpayers may fail or may have failed to comply with U.S. internal revenue laws; and

(iii) information sufficient to establish these U.S. taxpayers’ identities is not readily available to

the IRS from other sources. See 26 U.S.C. § 7609(f). In addition, the IRS is permitted to issue the

Summonses because the information sought is narrowly tailored to pertain to the failure (or

potential failure) of U.S. taxpayer-clients of the TT-Group to comply with internal revenue laws.

Id.

                                         BACKGROUND

I.     U.S. Taxpayers Must Report Foreign Income and Disclose Foreign Financial
       Accounts and Entities

       United States citizens, resident aliens, and trusts with gross annual income above the

reporting threshold must file income tax returns each year reporting their income from all sources

worldwide. 26 U.S.C. §§ 61, 6012. These individuals and trusts (referred to throughout this

Memorandum as “U.S. taxpayers”) must also disclose to the Government their ownership interests



1
 Nevis Services Limited is a New York corporation functioning as a liaison and marketing affiliate
of Morning Star Holdings Limited (later TT-Nevis). Hooczko Decl. ¶ 72.


                                                  3
         Case 1:24-mc-00594-JPC          Document 3        Filed 12/17/24      Page 9 of 33




in certain foreign assets. For example, those who have financial interests in, or signature authority

over, foreign financial accounts must disclose this on Schedule B of their income tax return. See

26 U.S.C. § 6038D; see also IRS, Form 1040, Schedule B, Interest and Ordinary Dividends

(2023), Part III, https://www.irs.gov/pub/irs-prior/f1040sb--2023.pdf. U.S. taxpayers are also

required to report their financial interests in foreign financial accounts on a Report of Foreign Bank

and Financial Accounts, FinCEN Form 114 (the “FBAR”), 2 when the aggregate value of those

accounts exceeds $10,000 at any time during any calendar year. 31 U.S.C. § 5314; 31 C.F.R.

§ 1010.350. U.S. taxpayers are further required to report certain transactions with foreign persons

or trusts, see 26 U.S.C. §§ 6039F, 6048, and their ownership of or control over foreign

corporations, see id. § 6038; 26 C.F.R. § 1.6038-2(a).

II.      Offshore Tax Evasion

         U.S. taxpayers unlawfully seeking to evade their tax obligations sometimes conceal

unreported taxable income in accounts in offshore no-tax, low-tax, or financial secrecy

jurisdictions. Hooczko Decl. ¶ 11. Often, taxpayers rely on offshore service providers to create

foreign entities to conceal their income, and to provide directors, officers, and trustees who act as

such in name only to conceal the U.S. taxpayers’ beneficial ownership of assets. Id. ¶¶ 35–38.

Offshore service providers may also assist taxpayers in opening foreign financial accounts. Id. By

using the services of offshore service providers, taxpayers may claim they have no legal connection

to foreign assets or entities, while retaining actual control through means such as side agreements

with the service providers. Id. ¶ 38. The TT-Group is one such provider—its entities have appeared

as a related service provider in several of the IRS’s investigations into abusive offshore

arrangements over more than a decade. Id. ¶¶ 132–85 (describing specific examples from



2
    Prior to 2014, the FBAR form was Form TD F 90-22.1.


                                                  4
        Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24       Page 10 of 33




voluntary disclosure and streamlined FBAR programs). The Hooczko Declaration explains in

detail how seven U.S. taxpayers concealed offshore assets in part by using the services of TT-

Group. Id. As an example, one taxpayer concealed his business and investment income in nine

“master” accounts in Switzerland (with twenty-six sub-accounts) and three Polish accounts. Id.

¶¶ 146–49. Of these twelve accounts, the taxpayer used TT-Group entities to create or maintain

six Swiss accounts and one Polish account. Id. The taxpayer and his spouse used TCS-Switzerland

to conceal these accounts in three British Virgin Island “International Business Companies” of

which they were the directors and beneficial owners. Id. ¶ 146–50. The IRS was not aware of the

taxpayer’s offshore arrangement until he and his spouse disclosed the arrangement in a 2010

voluntary disclosure, which only covered 2003 to 2008. Id. ¶ 151–52. This disclosure is just one

of five detailed in the Hooczko Declaration, all of which include offshore arrangements, aided by

TT-Group entities, the IRS was not aware of prior to the taxpayers’ voluntary disclosures. Id.

¶ 132–81.

        The IRS is concerned that the seven taxpayers’ actions detailed in the Hooczko Declaration

represent how other TT-Group clients use the group’s services to aid their tax evasion. TT-Group

is a large and established provider of offshore services. It is a network of entities operating in

nearly thirty countries worldwide, including in several well-known tax havens across the world.

Id. ¶¶ 63, 72, 84; see also id. Appx. A. Domestically, its entities have offices in at least five states:

Georgia, South Dakota, New York, Florida, and Texas. Id. ¶ 65. The TT-Group is privately owned

and has been providing corporate, trust, and fund administration services for over forty years. Id.

¶ 64.

        Information available to the IRS shows that the TT-Group assists its U.S. clients in

establishing offshore structures that aid the clients’ tax evasion. See id. ¶¶ 135–80 (providing




                                                   5
      Case 1:24-mc-00594-JPC            Document 3       Filed 12/17/24      Page 11 of 33




specific examples of tax non-compliance by TT-Group clients). The TT-Group advertises these

services and specifically describes them as means to enable its clients to keep beneficial ownership

information confidential, avoid public reporting, and avoid registering entities, with express

references to “suitable solutions” for “tax and estate planning.” Id. ¶¶ 85, 109, 121. These services

include the creation of offshore foundations managed by nominee officers; anonymous

corporations secretly owned through bearer shares; and other arrangements that conceal U.S.

clients’ beneficial ownership of foreign assets, such as financial accounts, in foreign jurisdictions

with strong financial secrecy laws and practices. See id. ¶¶ 84–131. For example, three people

working for or on behalf of the TT-Group are listed as the founders, collectively, of 3,845

companies in Panama. Id. ¶ 101. This indicates the clients are using those TT-Group employees’

names to conceal the true founders and beneficial owners of those companies, and information

available to the IRS suggests that at least some of the true founders are U.S. taxpayers who are

using the companies to conceal assets or income from the IRS. Id.

       Taxpayers with offshore financial accounts often access their funds through correspondent

accounts at U.S. banks. Id. ¶¶ 53–56. When foreign financial institutions maintain correspondent

accounts at U.S. banks, their clients can access certain of the U.S. banks’ services. Id. ¶ 54.

Domestic owners of offshore accounts can use U.S.-based correspondent accounts to facilitate

transactions denominated in U.S. dollars and transfer funds to and from their offshore accounts.

Id. ¶ 55. This exploitation of correspondent banking relationships may enable tax evasion by

facilitating the transfer of funds offshore. Id. ¶ 54. The IRS has encountered numerous examples

of TT-Group entities helping U.S. taxpayers create foreign corporations and trusts, and open

foreign bank accounts, all of which were concealed by their clients from the IRS. For instance, the

TT-Group helped one U.S. taxpayer who had Russian and Swiss accounts in his own name to




                                                 6
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 12 of 33




create a corporation based in the British Virgin Islands, open new Swiss and Cypriot bank accounts

in the name of the BVI corporation, and transfer assets from the Russian and Swiss accounts into

the new ones that were not associated with his name. Id. ¶¶ 153–64. The taxpayer concealed these

assets and accounts from the IRS by using the TT-Group’s services. Id.

       Additionally, the TT-Group uses wire transfers to send and receive payments. See id.

¶¶ 236–44. Uncovering to and from whom these wire transfers were sent will aid the IRS in

determining which U.S. taxpayers have used the TT-Group’s services to avoid U.S. taxation. Id.

       The TT-Group also uses courier services to send and receive documents and payments

from clients or other affiliates. See id. ¶¶ 230–34. Accordingly, records from these companies will

further the IRS’s current investigation. Id.

       Accordingly, through this Petition, the IRS also seeks to summons several financial

institutions (correspondent banks), wire transfer servicers, and courier services that it believes hold

data relevant to the current investigation.

III.   The TT-Group

       A. The TT-Group Offers Services that Enable U.S. Clients to Conceal Assets

       Some U.S. clients use the services provided by the TT-Group to conceal assets and avoid

paying U.S. taxes. Specifically, the TT-Group offers services that enable offshore account and

entity concealment, including mail forwarding and retention, and so-called “shelf companies.” Id.

¶¶ 73–119.

       Offshore account and entity concealment. The TT-Group provides services that allow

clients subject to U.S. tax laws to conceal their ownership of foreign entities and accounts by

assisting them in forming offshore companies, including by providing registered agents, directors,

nominee shareholders, and bank signatories for such companies. Id. ¶¶ 85–121. U.S. taxpayers

concealing their beneficial ownership in accounts and other assets by registering these assets in


                                                  7
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 13 of 33




foreign jurisdictions that have strong financial secrecy laws and practices use TT-Group entity

addresses for registration and mail purposes. Id. ¶¶ 104–06. The TT-Group also provides services

that assist U.S. taxpayers in obfuscating their ownership of assets by creating anonymous offshore

corporations and foundations used for asset concealment, as well as providing professional

trustees, corporate directors (including resident individual directors), nominee shareholders, and

nominee members for these offshore entities. Id. ¶ 100–02. The TT-Group entities also sometimes

act as corporate secretaries and bank signatories for their clients’ entities, which help conceal

clients’ identities and their beneficial ownership or control over accounts. Id. ¶ 100.

       By way of example, Revenue Agent Hooczko’s research showed that TT-Panama lawyers

Martha Salazar and Samantha Federico and TT-UK accountant Sandra Dixon are associated with

an unusually large number of Panamanian entities. Id. ¶ 101. As of July 17, 2024, Salazar was

listed as a founder of 2,039 Panamanian companies, a director of 32, an officer of 23, and was

otherwise linked to 152 other Panamanian entities, for a total of 2,246 such relationships. Id.

Federico was listed as a founder of 838 Panamanian companies, a director of 55, an officer of 52,

and was otherwise linked to 57 other Panamanian entities, for a total of 1,002 such relationships.

Id. Similarly, as of July 17, 2024, Dixon was listed as a founder of 968 Panamanian companies, a

director of 115, an officer of 112, and was otherwise linked to 97 other Panamanian entity

relationships, for a total of 1,292 such relationships. Id. By providing TT-Group employees to

serve as founders, nominee directors and officers, and in other corporate roles for Panamanian

entities, the TT-Group assists the beneficial owners of those entities to conceal their identities. Id.

       The TT-Group offers services to structure ownership through bearer shares or nominee

shareholders. Id. ¶ 100–03. Bearer shares allow the identity of the true owners of a company to be

left out of any records. Id. ¶ 42–43. This tactic limits TT-Group clients’ on-paper involvement in




                                                  8
       Case 1:24-mc-00594-JPC            Document 3       Filed 12/17/24      Page 14 of 33




these foreign corporations. Id. Because U.S. taxpayers are required to disclose their interests in

foreign corporations (see, e.g., 26 U.S.C. § 6038; 26 C.F.R. § 1.6038-2(a)), the use of bearer shares

can facilitate TT-Group clients’ non-compliance with internal revenue laws by making it easy to

avoid such reporting without detection. Hooczko Decl. ¶¶ 42–43.

        Because TT-Group entities offer services that help U.S. taxpayers mask their involvement

in offshore corporations, foundations, trusts, and beneficial ownership accounts, information about

the identities of U.S. clients holding assets in these foreign corporations, foundations, or accounts

is not readily available to the IRS. Id. ¶¶ 62.

        Mail forwarding and retention. Mail forwarding and mail retention services also allow

U.S. taxpayers to hide their assets from detection by avoiding the creation of a domestic paper

trail. Id. ¶¶ 104–06. U.S. taxpayers are more easily able to deny their ownership of foreign accounts

and corporations to U.S. taxing authorities when no relevant domestic records exist. Id. ¶¶ 44–45.

The TT-Group offers clients these mail-related services for a fee. Id. ¶¶ 104–06. For example, the

TT-Group can receive and distribute all correspondence addressed to a company, collect and

process mail, and act as the designated recipient for legal correspondence on behalf of a business

engaged in an international transaction in a jurisdiction where the client does not have a physical

presence or address (i.e., agent for service or process). Id. Some TT-Group clients may also request

that their account-related mail be destroyed. Id. Clients of U.S.-based TTC-SD can authorize the

company, for a fee, to open, read, and hold their account-related electronic mail. Id. ¶ 104.

        Shelf companies. Finally, the TT-Group offers its U.S. taxpayer clients the ability to create

what are known as shelf companies—companies that are registered before any client’s request,

and then placed on a figurative shelf for “immediate delivery” to interested clients. Id. ¶ 112. In

the IRS’s experience, U.S. taxpayers use shelf companies to conceal their beneficial ownership of




                                                  9
       Case 1:24-mc-00594-JPC            Document 3         Filed 12/17/24       Page 15 of 33




assets by creating the false impression that the offshore shelf entity existed before the beneficial

owner’s involvement. Id.

        B. Information from Other Sources Corroborates the IRS’s Belief that U.S.
           Taxpayers Use the TT-Group to Evade U.S. Taxes

        Information obtained by the IRS from other enforcement efforts supports the IRS’s belief

that U.S. taxpayers have been using the TT-Group’s services to avoid paying their U.S. taxes.

Several U.S. taxpayers who filed voluntary disclosures to report to the IRS their prior non-

compliance used the services of the TT-Group to avoid U.S. taxes. Id. ¶ 133–34. U.S. taxpayers

using TT-Group services failed to report their offshore accounts, their ownership interest in

offshore entities, and earnings from their offshore accounts to the IRS. Id.

        The IRS has also obtained information regarding the TT-Group’s offshore services through

other John Doe summonses. For example, records the IRS obtained from a John Doe summons

issued to the Wessell Group—a New York-based offshore service provider—indicate it sought the

services of Morning Star (later merged to form TT-Nevis) and Nevis Services, to establish Nevis-

based entities for its U.S. clients. Id. ¶¶ 93–95.

IV.     The Summonses

        To further its investigation, the IRS is seeking to issue the Summonses to obtain

information that will allow it to identify U.S. taxpayer clients of the TT-Group who have not

disclosed to the Government the existence of their offshore entities and accounts or who have

failed to report related income to the IRS. Id. ¶¶ 6–7. Specifically, the IRS is seeking information

regarding the following class of persons:

                United States taxpayers who, at any time during the years ended
                December 31, 2014, through December 31, 2023, used the services
                of the Trident Trust Group, including its predecessors, subsidiaries,
                divisions, affiliates, and associates to establish, maintain, operate, or
                control: any foreign financial account or other foreign asset; any
                foreign corporation, company, trust, foundation or other legal entity;


                                                     10
       Case 1:24-mc-00594-JPC           Document 3       Filed 12/17/24      Page 16 of 33




                 or any foreign or domestic financial account or other asset in the
                 name of such foreign entity.

Id. ¶¶ 6, 175.

        The IRS seeks in this action to summon relevant documents from four groups of record

holders. 3 First, the IRS seeks shipping records from couriers that it believes made shipments to or

from U.S. clients of the TT-Group: FedEx Corporation (“FedEx”); 4 DHL Express (USA), Inc.

(“DHL”); and United Parcel Service, Inc. (“UPS”). See id. Exs. B–D. The IRS believes that these

couriers were used to make shipments between the TT-Group and its U.S. clients because the

websites of several TT-Group entities encourage their clients to use courier services to send them

documents; thus, those couriers very likely have records—unavailable elsewhere—that would

assist the IRS in identifying TT-Group clients in the United States. See, e.g., id. ¶ 230. Further,

TT-Group and its clients have used several of these services, such as FedEx and DHL, to send

documents in the past. Id. ¶¶ 93–94, 98. Although the TT-Group websites or other information

available to the IRS do not specifically mention that UPS was used as a courier service by the TT-

Group or its U.S. clients, Morning Star’s Fee Schedule for Nevis LLC Companies webpage

references the use of courier services, and UPS is a popular courier service. See Exhibit 5.

Therefore, the Government has a reasonable basis for believing that UPS may have also been used

as a courier service by the TT-Group or its U.S. clients. Because these couriers can search their

records based on the name or address of a shipment’s sender or recipient, they should be able to



3
  As mentioned above, simultaneously with the filing of this application, the Government is
seeking leave from district courts in two other jurisdictions to serve summonses certain TT-Group
entities located in those districts.
4
  The IRS also seeks records of the companies FedEx acquired during the summons period,
including TNT USA Inc. and TNT Express (Canada) Ltd. Hooczko Decl. ¶ 226. TNT was acquired
by FedEx in 2016, and thus FedEx should have records of these companies’ shipments between
U.S. persons and the TT-Group. Id. Accordingly, the IRS does not seek to serve a separate
summons on these acquired companies.


                                                11
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24       Page 17 of 33




identify instances in which their services were used to ship documents to or from the TT-Group or

its associates where the address of either the shipper or recipient was in the United States. Id. ¶ 233.

The records of these shipments—including specifically names, addresses, and phone numbers—

will help the IRS identify U.S. taxpayers within the John Doe class. Id.

       Second, the IRS seeks records from a financial institution and a clearing house that are

believed to have records of electronic funds transfers relating to U.S. clients of the TT-Group: The

Federal Reserve Bank of New York (“Federal Reserve NY”) and The Clearing House Payments

Company LLC (“Clearing House”). See id. Exs. E–F. The TT-Group advertises that it accepts

payment from its clients by wire transfer, id. ¶ 238, and these two summonsed entities are expected

to have records related to such transfers. Federal Reserve NY maintains the Fedwire Funds Service

(“Fedwire”), which handles message transfer traffic initiating financial transactions between

financial institutions, as well as the actual transfers of funds, and the instruction fields on those

wire transfer documents likely contain information relating to cross-border funds transfers for

which Fedwire handles the domestic segment. Id. ¶¶ 236–40. Clearing House operates the Clearing

House Interbank Payment System (“CHIPS”), which is the main electronic funds transfer system

for U.S. dollar transfers among international banks. Id. ¶¶ 241–44. It is likely that when U.S. clients

send U.S. dollar-denominated funds to a TT-Group associate, CHIPS is used for the cross-border

segment of the transfer. Id. ¶ 242. Fedwire and CHIPS handle only U.S.-based or U.S.-dollar-

denominated transfers. Id. ¶¶ 236, 241. Records of wire transfers sent between the TT-Group and

its U.S. clients via Fedwire and CHIPS will help the IRS to identify U.S. taxpayers who may have

used the TT-Group’s services for tax avoidance. Id. ¶¶ 238, 240, 242, 244.

       Third, the IRS seeks records from U.S. banks that maintain correspondent accounts for

foreign banks known to be used by the TT-Group. The U.S. banks to which the proposed




                                                  12
      Case 1:24-mc-00594-JPC           Document 3       Filed 12/17/24      Page 18 of 33




Summonses are directed are HSBC Bank USA, N.A. (“HSBC”); the Bank of New York Mellon

Corporation (“BNY Mellon”); Wells Fargo Bank, N.A. (“Wells Fargo”); Citibank, N.A.

(“Citibank”); UBS AG (“UBS”); Bank of America, N.A. (“Bank of America”); and Deutsche Bank

Trust Company Americas (“Deutsche Bank”) (collectively, the “U.S. Correspondent Banks”). See

id. Exs. G–M. The IRS has learned that the TT-Group uses the services of certain banks in the

Bahamas, Barbados, British Virgin Islands, Cayman Islands, Isle of Man, Jersey, Nevis, Panama,

and Switzerland, each of which has correspondent accounts at one or more of the U.S.

Correspondent Banks. See, e.g., id. ¶¶ 122–30, 254, 257.

       Because correspondent accounts are the principal means by which a foreign bank moves

funds into and out of the United States, the IRS believes that summonsed records from these

correspondent accounts will assist in identifying U.S. clients of the TT-Group. Id. ¶ 248.

Additionally, the IRS seeks anti-money laundering records from the U.S. Correspondent Banks.

Because correspondent accounts are associated with unlawful money laundering, U.S. laws and

regulations require U.S. financial institutions that maintain correspondent accounts for foreign

banks to implement certain risk-based procedures and controls reasonably designed to detect

suspected money-laundering activity. Id. ¶¶ 251–52. The correspondent banks’ anti-money

laundering records may reveal aliases, pseudonyms, or nominees of U.S. taxpayers who have been

using the TT-Group’s services to facilitate U.S. tax evasion, as well as those persons’ contact

information. Id. ¶ 253.

       Fourth, the IRS seeks certain information in aid of its investigation from a domestic entity

affiliated with the TT-Group, Nevis Services Limited (“Nevis Services”), namely records relating

to U.S. taxpayers who used the services of the TT-Group to establish, maintain, operate, or control

foreign financial accounts, assets, or entities. See id. Ex. A. Nevis Services is a New York




                                                13
       Case 1:24-mc-00594-JPC             Document 3        Filed 12/17/24       Page 19 of 33




corporation with its principal office in Manhattan. Id. ¶ 73. It acts as a liaison and marketing

affiliate of Morning Star (one of the entities which TT-Group previously operated in Nevis, and

which has since merged into TT-Nevis). Id. As a liaison for Morning Star, Nevis Services assisted

TT-Group clients in establishing entities in Nevis. Id. The IRS has also learned that the Wessell

Group, another service provider, contacted Morning Star and Nevis Services for assistance in

establishing entities in Nevis for its U.S. clients. Id. ¶ 93. Because Nevis Services is a U.S. affiliate

of the TT-Group, the IRS believes it will have records relevant and material to its investigation.

And, although Nevis Services is a domestic entity, the IRS believes it can domestically access

records of TT-Group entities in foreign jurisdictions without request as well. See id. ¶¶ 77–83;

see also, e.g., Sergeeva v. Tripleton Int’l Ltd., 834 F.3d 1194, 1200–02 (11th Cir. 2016) (holding

that TCS-USA, a different domestic TT-Group entity, had access to records of foreign TT-Group

entities and could thus be subpoenaed for them).

                                            ARGUMENT

        The Court should approve the John Doe summonses, which are directed to various entities

that may have information pertinent to the IRS’s investigation of TT-Group clients. One of the

IRS’s key functions is to ensure that U.S. taxpayers pay all applicable taxes. Accordingly, the

Internal Revenue Code directs the Secretary of the Treasury (the “Secretary”) to “cause officers or

employees of the Treasury Department to proceed, from time to time, through each internal

revenue district and inquire after and concerning all persons therein who may be liable to pay any

internal revenue tax.” 26 U.S.C. § 7601(a). In aid of this function, the Secretary is authorized to

summon records and testimony that may be relevant or material to an investigation:

                For the purpose of ascertaining the correctness of any return, making
                a return where none has been made, [or] determining the liability of
                any person for any internal revenue tax . . . , the Secretary is
                authorized . . . [t]o summon . . . any person having possession,


                                                   14
      Case 1:24-mc-00594-JPC              Document 3         Filed 12/17/24       Page 20 of 33




                 custody, or care of books of account containing entries relating to
                 the business of the person liable for tax . . . , or any other person the
                 Secretary may deem proper, to appear . . . and to produce such
                 books, papers, records, or other data . . . as may be relevant or
                 material to such inquiry . . . .

Id. § 7602(a).

       Congress intended “to provide the Secretary with broad latitude to adopt enforcement

techniques helpful in the performance of his tax collection and assessment responsibilities.” United

States v. Euge, 444 U.S. 707, 716 n.9 (1980). Indeed, the Supreme Court has noted that the

Secretary’s summons power forms the “centerpiece” of the IRS’s “expansive information-

gathering authority.” United States v. Arthur Young & Co., 465 U.S. 805, 816 (1984). Because

“the summons power of the IRS under the Code is quite broad, . . . courts are constrained to

exercise caution before circumscribing the summons authority.” PAA Mgmt., Ltd. v. United States,

962 F.2d 212, 216 (2d Cir. 1992); see also Arthur Young, 465 U.S. at 816 (“[T]he very language

of § 7602 reflects . . . a congressional policy choice in favor of disclosure of all information

relevant to a legitimate IRS inquiry.” Id. (emphasis in original).

       The IRS’s authority to issue “John Doe” summonses to discover the identity of unknown

individuals who may have failed to report their income was recognized by the Supreme Court in

United States v. Bisceglia, 420 U.S. 141 (1975), and later codified at 26 U.S.C. § 7609(f). This

provision requires the Secretary to establish three prerequisites before serving a John Doe

summons:

                 Any summons . . . which does not identify the person with respect
                 to whose liability the summons is issued may be served only after a
                 court proceeding in which the Secretary establishes that—

                         (1) the summons relates to the investigation of a particular
                         person or ascertainable group or class of persons,




                                                    15
      Case 1:24-mc-00594-JPC            Document 3       Filed 12/17/24      Page 21 of 33




                       (2) there is a reasonable basis for believing that such person
                       or group or class of persons may fail or may have failed to
                       comply with any provision of any internal revenue law, and

                       (3) the information sought to be obtained from the
                       examination of the records or testimony (and the identity of
                       the person or persons with respect to whose liability the
                       summons is issued) is not readily available from other
                       sources.

26 U.S.C. § 7609(f). Additionally, “[t]he Secretary shall not issue any summons . . . unless the

information sought to be obtained is narrowly tailored to information that pertains to the failure

(or potential failure) of the person or group or class of persons . . . to comply with one or more

provisions of the internal revenue law which have been identified.” Id. The Court’s determination

as to whether the IRS has met the requirements for issuance of a John Doe summons “shall be

made ex parte and shall be made solely on the petition and supporting affidavits.” Id. § 7609(h)(2).

       The Secretary has established the three statutory prerequisites for the Summonses. First,

the Summonses relate to the IRS’s investigation of an ascertainable group or class of persons,

namely, U.S. taxpayers who used the TT-Group’s services to establish, maintain, operate, or

control offshore assets, accounts, or entities from 2014 to 2023. Second, there is a reasonable basis

for believing that U.S. taxpayers who held an interest in any such assets, accounts, or entities

concealed them and related income from the IRS, thereby violating one or more provisions of the

internal revenue laws. Third, the information sought is not readily available to the IRS from other

sources. Additionally, as described below, the Summonses are appropriate because the information

sought is narrowly tailored to the identity of members of the John Doe class who potentially failed

to comply with the internal revenue laws. 5


5
  When the Secretary seeks to issue a John Doe summons, jurisdiction lies in the district in which
the person or entity to be summonsed “resides or is found.” 26 U.S.C. § 7609(h)(1). A corporation



                                                 16
      Case 1:24-mc-00594-JPC            Document 3       Filed 12/17/24      Page 22 of 33




I.     The Investigation Concerns an Ascertainable Class

       The Summonses relate to an IRS investigation of an ascertainable group of people, namely,

U.S. taxpayers who from 2014 to 2023 used the services of the TT-Group, including its

predecessors, subsidiaries, and associates, to establish, maintain, operate, or control: any foreign

financial account or other foreign asset; any foreign corporation, company, trust, foundation or

other legal entity; or any foreign or domestic financial account or other asset in the name of such

foreign entity. Hooczko Decl. ¶¶ 187–88. 6

       Courts have found that the “ascertainable group” requirement of Section 7609(f) is satisfied

when the proposed summons specifies a particular group of taxpayers in whose potentially

unlawful conduct the IRS has expressed an interest. For example, this prong was satisfied where a

summons “squarely particularize[d] the individuals sought from the general public” by identifying

the class as California residents who, between 2005 and 2010, were involved in certain property



“resides” or “is found” in a district in which it maintains a physical presence. Mensh v. United
States, No. 08 Civ. 4162 (DLI) (ALC), 2009 WL 2242295, at *2 (E.D.N.Y. Jul. 27, 2009). Here,
the proposed summons recipients all have a physical presence by virtue of at least one office within
this district and/or by being headquartered in this district. See id.; Hooczko Decl. ¶¶ 225 (FedEx);
227 (DHL); 228 (UPS); 236 (Federal Reserve-NY); 241 (Clearing House); 259 (HSBC Bank
USA); 261 (BNY Mellon); 263 (Wells Fargo); 265 (Citibank); 267 (UBS); 269 (Bank of America);
270 (Deutsche Bank); 73 (Nevis Services).
6
  Some of the summons requests use a U.S. address or phone number as indicia of an individual’s
status as a U.S. taxpayer. Specifically, and as discussed further below, the summons to Nevis
Services requests documents related to its clients who are U.S. citizens or residents, as well as
those clients who have a U.S. address or phone number. Hooczko Decl. Ex. A. Similarly, the
summonses to the U.S. correspondent banks seek records of accounts held by or transactions
involving TT-Group or its clients who have a U.S. address or phone number. Hooczko Decl. Exs.
I–M. Likewise, the summonses to the courier entities request records of shipments between, on
the one hand, a United States address, and on the other hand, TT-Group entities, individuals known
to work for or on behalf of TT-Group, and addresses known to be used by TT-Group. See Hooczko
Decl. Exs. B–D. The summonses to Federal Reserve-NY and Clearing House request all records
of wire transfers involving known TT-Group entities and personnel. See Hooczko Decl. Exs. E–F.
As discussed further below, this request targets U.S. taxpayers because those entities handle only
U.S.-based or U.S.-dollar-denominated wire transfers.



                                                17
       Case 1:24-mc-00594-JPC           Document 3       Filed 12/17/24      Page 23 of 33




transfers for little or no consideration. See In re Tax Liabs. of John Does, No. 2:10-mc-00130-

MCE-EFB, 2011 WL 6302284, at *2 (E.D. Cal. Dec. 15, 2011). Similarly, the IRS satisfied the

“ascertainable group” standard when a summons concerned U.S. taxpayers who, as agents for

subsidiaries of a certain company, sold credit insurance policies reinsured by entities in the Turks

and Caicos Islands. See In re Tax Liabs. of John Does, No. 03-22793-CIV, 2003 WL 22953182,

at *1 (S.D. Fla. Oct. 30, 2003); see also In re Tax Liabs. of John Does, No. 09-cv-00861-REB,

Dkt. No. 4 (D. Colo. Apr. 15, 2009).

        Additionally, courts have repeatedly authorized the issuance of John Doe summonses

whose target group comprised individuals with interests in financial accounts managed by

particular entities:

        •   In re Tax Liabs. of John Does (Panama Offshore Legal Servs.), No. 21-mc-424,
            Dkt. No. 19 (S.D.N.Y. July 15, 2021) (granting ex parte petition for leave to
            serve John Doe summonses in investigation of U.S. taxpayers who used the
            services of a particular entity, Panama Offshore Legal Services, to establish and
            maintain offshore accounts and entities);

        •   In re Tax Liabs. of John Does (Butterfield Bank), No. 13-mc-377-P1, Dkt. No.
            3 (S.D.N.Y. Nov. 12, 2013) (granting ex parte petition for leave to serve John
            Doe summonses in investigation of U.S. taxpayers who had interests in or
            authority over financial accounts maintained at or managed by The Bank of
            N.T. Butterfield & Son Limited or other institutions that Butterfield Bank
            permitted to transact business through its U.S. correspondent accounts);

        •   In re Tax Liabs. of John Does (Zurcher Kantonalbank (ZKB)), No. 13-mc-378-
            P1, Dkt. No. 3 (S.D.N.Y. Nov. 7, 2013) (granting ex parte petition for leave to
            serve John Doe summonses in investigation of analogous group of U.S.
            taxpayers with interests in financial accounts related to ZKB);

        •   In re Tax Liabs. of John Does (Wegelin & Co.), No. 13-mc-00021-P1, Dkt. No.
            4 (S.D.N.Y. Jan. 29, 2013) (granting ex parte petition for leave to serve John
            Doe summonses in investigation of analogous group of U.S. taxpayers with
            interests in financial accounts related to Wegelin & Co., including accounts at
            financial institutions that Wegelin permitted to transact client business through
            its U.S. correspondent account).




                                                 18
      Case 1:24-mc-00594-JPC           Document 3        Filed 12/17/24      Page 24 of 33




       Here, the relevant class of U.S. taxpayers are particularized from the general public because

the class is limited to U.S. taxpayers who used the TT-Group’s services to establish and maintain

foreign accounts and entities during certain years. The investigation underlying the Summonses

thus relates to an “ascertainable group or class of persons.” 26 U.S.C. § 7609(f)(1).

II.    There Is a Reasonable Basis to Believe that the John Doe Class May Have Failed to
       Comply with U.S. Internal Revenue Laws

       The IRS has a reasonable basis to believe that the U.S. taxpayers who used the TT-Group’s

services during the relevant period may have failed to comply with the internal revenue laws. To

satisfy the “reasonable basis” requirement, the IRS need only show that a transaction has occurred

that is “of such a nature as to be reasonabl[y] suggestive of the possibility that the correct tax

liability with respect to that transaction may not have been reported.” H.R. Rep. No. 94-658, at

311 (1975), reprinted in 1976 U.S.C.C.A.N. 2897, 3208.

       In enacting Section 7609(f), Congress did “not intend to impose an undue burden on the

[IRS] in connection with obtaining a court authorization to serve this type of summons.” H.R. Rep.

No. 94-658, at 311, reprinted in 1976 U.S.C.C.A.N. at 3207. Rather, Congress sought to ensure

that the IRS would have “a specific situation to present in the court,” instead of using the

summonses to engage in a “possible ‘fishing expedition.’” Id.; see also Tiffany Fine Arts, Inc. v.

United States, 469 U.S. 310, 320–21 (1985) (§ 7609(f) was enacted out of congressional concern

that summons authority could be used to engage in “fishing expeditions” (citing H.R. Rep. No. 94-

658, at 307, 311 and S. Rep. No. 94-938, at 368–69, 373)); In re Tax Liabs. of John Does (Agric.

Asset Mgmt. Co.), 688 F.2d 144, 149 (2d Cir. 1982) (Section 7609(f) was “concerned only

with . . . preclud[ing] the IRS from using [John Doe] summonses to engage in possible ‘fishing

expeditions.’” (quoting H.R. Rep. No. 94-658, at 311)). Courts, therefore, have concluded that

“Congress did not intend to impose stringent restrictions on the [IRS]’s investigatory function,”



                                                19
      Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 25 of 33




but rather, that the intent was “to prevent the [IRS] from exercising its summons power in an

arbitrary or quixotic manner.” In re Tax Liabs. of John Does (Columbus Trade Exch.), 671 F.2d

977, 979–80 (6th Cir. 1982).

       Here, the evidence that the IRS has obtained to date shows that the TT-Group offers

services to U.S. taxpayers that, in the IRS’s experience, bear the hallmarks of enabling offshore

tax evasion, such as the establishment of offshore structures, including offshore foundations and

anonymous corporations; the use of nominee officers and directors; undisclosed ownership

through bearer shares; mail forwarding; and the concealment of beneficial ownership in foreign

accounts and other foreign assets in foreign jurisdictions with strong financial secrecy laws and

practices. See, e.g., Hooczko Decl. ¶¶ 84–131. In the IRS’s experience, offshore tax avoidance

almost always involves such accounts and offshore structures. Id. ¶ 34. The TT-Group also

advertises these services and specifically describes them as means to provide clients the ability to

keep beneficial ownership information confidential and avoid public reporting, with express

references to “suitable solutions” for “tax and estate planning.” Id. ¶¶ 85, 109, 121. Thus, the IRS

has reason to believe that currently unidentified U.S. taxpayers have used the TT-Group’s services

to facilitate noncompliance with the internal revenue laws. Id. ¶ 84.

       This satisfies the “reasonable basis” requirement of Section 7609(f). Courts have found

that this prong is met if the IRS knows of similar past transactions associated with taxpayers failing

to comply with the internal revenue laws. See Columbus Trade Exchange, 671 F.2d at 980 (IRS

had a reasonable basis to investigate tax returns of members of a barter exchange based on fact

that, in IRS’s experience, members of other barter exchanges historically exhibited numerous

reporting errors in reporting non-cash transactions on their tax returns); United States v. Pittsburgh

Trade Exch., Inc., 644 F.2d 302, 306 (3d Cir. 1981) (IRS agent’s testimony that transactions of the




                                                 20
       Case 1:24-mc-00594-JPC           Document 3       Filed 12/17/24      Page 26 of 33




type the summonsed party arranged for its clients were “inherently susceptible . . . to tax error”

was sufficient to meet the “reasonable basis” prong); see also United States v. Ritchie, 15 F.3d

592, 601 (6th Cir. 1994) (clients’ payment for legal services with large amounts of cash provided

a reasonable basis to issue a John Doe summons).

       Likewise, here, the IRS believes—based on its experience and the evidence developed to

date—that U.S. taxpayers have used the TT-Group’s services to evade U.S. reporting requirements

and payment of U.S. income taxes. This informed belief provides the IRS with a reasonable basis

to believe that the John Doe class of U.S. taxpayers whose information it now seeks to summon

“may fail or may have failed to comply with any internal revenue law.” 26 U.S.C. § 7609(f).

III.   The Information Sought About the Target Class, Including the Identities of the
       Class’s Members, Is Not Readily Available from Other Sources

       The information the IRS is seeking through the Summonses is not readily available from

other sources. To the contrary, the very need for the John Doe summonses arises because U.S.

clients of the TT-Group may have failed to disclose their foreign bank accounts, assets, and entities

to the IRS and, therefore, remain unknown to the IRS. See In re Tax Liabs. of John Does (Am.

Bankers Ins. Group), No. 03-cv-22793, 2003 WL 22953182 (S.D. Fla. Oct. 30, 2003), at *1

(granting a petition for a John Doe summons on the ground that the IRS needed information from

the recipient of the summons to continue its investigation of a class of taxpayers violating the

internal revenue laws).

       Courts have approved the issuance of John Doe summonses and held that the identities of

the persons to be investigated are not “readily available,” in cases where the identities were

presumably in the hands of foreign institutions. See, e.g., In re Tax Liabs. of John Does (American

Express), No. 00-cv-3919, 2000 WL 34538137, at *1 (S.D. Fla. Oct. 30, 2000) (authorizing service

of John Doe summonses seeking the identity of U.S. taxpayers who used American Express and



                                                 21
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 27 of 33




MasterCard accounts tied to certain Caribbean banks); see also In re Tax Liabs. of John Does

(MasterCard Int’l), No. 02-22404-CIV, 2002 WL 32879613, at *1 (S.D. Fla. Aug. 20, 2002)

(authorizing service of a John Doe summons seeking the identity of U.S. taxpayers who held

certain credit card accounts with ties to foreign banks); In re Tax Liabs. of John Does (HSBC Bank

USA, N.A.), No. 11-cv-01686-PJH, Dkt. No. 10 (N.D. Cal. Apr. 7, 2011) (authorizing the issuance

of a John Doe summons on HSBC seeking financial account records establishing the identities of

U.S. taxpayers with interests in or signature or other authority with respect to HSBC’s Indian bank

accounts).

       In particular, this Court has repeatedly authorized the issuance of John Doe summonses

seeking the identity of U.S. taxpayers with direct or indirect interests in foreign financial accounts.

See Panama Offshore Legal Servs., No. 21-mc-424, Dkt. No. 19 (granting ex parte petition for

leave to serve John Doe summonses in investigation of U.S. taxpayers who used the services of a

particular entity, Panama Offshore Legal Services, to establish and maintain offshore accounts and

entities); Butterfield Bank, No. 13-mc-377-P1, Dkt. No. 3 (granting ex parte petition for leave to

serve John Doe summonses in investigation of U.S. taxpayers who had interests in or authority

over financial accounts maintained at or managed by The Bank of N.T. Butterfield & Son or other

institutions that Butterfield Bank permitted to transact business through its U.S. correspondent

accounts); ZKB, No. 13-mc-378-P1, Dkt. No. 3 (granting ex parte petition for leave to serve John

Doe summonses in investigation of U.S. taxpayers with interests in financial accounts related to

Zurcher Kantonalbank); Wegelin, No. 13-mc-00021-P1, Dkt. No. 4 (granting ex parte petition for

leave to serve John Doe summonses in investigation of U.S. taxpayers with interests in financial

accounts related to Wegelin & Co., including accounts at financial institutions that Wegelin & Co.

permitted to transact client business through its U.S. correspondent account).




                                                  22
       Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24       Page 28 of 33




       Here, the IRS currently cannot independently identify the members of the target class; in

fact, the purpose of the Summonses is to discover the class members’ identities. As described

above and in the Hooczko Declaration, the TT-Group offers services U.S. taxpayers, including

individuals and trusts, may use to establish and maintain offshore entities and structures, including

offshore bank accounts, and to conceal their ownership of other foreign assets, including for U.S.

taxpayers. See Hooczko Decl. ¶¶ 84–131. Thus, the information the IRS seeks in the Summonses

is not readily available to it from other sources, if at all. See 26 U.S.C. § 7609(f)(3).

IV.    The Information Sought Is Narrowly Tailored to Information that Pertains to the
       Failure or Potential Failure of the John Doe Class to Comply with the Internal
       Revenue Laws

       For the reasons described above and in the Hooczko Declaration, the three statutory

prerequisites for issuance of the Summonses are present here. 26 U.S.C. § 7609(f)(1)–(3).

Additionally, the items requested by the Summonses are narrowly tailored to assist the IRS in

identifying the unknown members of the John Doe class and investigating their failure, or potential

failure, to comply with the internal revenue laws—specifically their obligation to file U.S. income

tax returns reporting their worldwide income from all sources and to disclose their ownership of

certain foreign assets to the Government. Id. § 7609(f).

       The requirement that a John Doe summons be “narrowly tailored to information that

pertains to the failure (or potential failure) of the [John Doe class] to comply with one or more

provisions of the internal revenue law” was added, as discussed above, to ensure that “the

information sought in the summons [is] at least potentially relevant to the tax liability of an

ascertainable group,” and that the summons is not used “for the purposes of a fishing expedition.”

H.R. Rep No. 116-39, at 41 (2019). The provision “is not intended to change the Powell standard

[i.e., the showing the IRS must make in support of summons enforcement] or otherwise affect the




                                                  23
      Case 1:24-mc-00594-JPC             Document 3      Filed 12/17/24      Page 29 of 33




IRS’s burden of proof.” 7 Id. at 42; accord U.S. Congress, Joint Committee on Taxation,

Description   of   H.R.   1957,    the   “Taxpayer    First   Act   of   2019,”   at   15   (2019),

https://www.jct.gov/publications/2019/jcx-15-19/.

       Those standards are satisfied here. First, the summonses to FedEx, DHL, and UPS seek

only information about shipments between, on the one hand, a United States address, and on the

other hand, TT-Group entities, individuals known to work for or on behalf of TT-Group, and

addresses known to be used by TT-Group. See Hooczko Decl. Exs. B–D. As discussed above, the

websites of TT-Group entities encourage clients to use couriers for shipments. See, e.g., id. ¶ 230.

Further, because these couriers can search their records based on the sender’s or recipient’s

address, they should be able to identify instances when their services were used to ship documents

to and from TT-Group associates where the address of either the shipper or recipient was in the

United States. Id. ¶¶ 231. This will assist the IRS in identifying U.S. clients of the TT-Group who

are members of the John Doe class. Id. ¶ 233.

       Second, the summonses to Federal Reserve NY, which operates the Fedwire system, and

Clearing House, which operates CHIPS, seek records that the IRS anticipates will reflect electronic

funds transfers relating to U.S. clients of the TT-Group. See id. Exs. E–F. As noted above, the TT-

Group advertises that it accepts payment by wire transfer. Id. ¶¶ 238, 242. The summonses seek

records of any wire transfers sent via Fedwire or CHIPS for which a TT-Group entity, person, or

address appears in any of the originator, beneficiary, instruction, or reference fields. Id. Because



7
  Where the Government seeks to enforce any IRS summons, it must establish “[1] that the
investigation will be conducted pursuant to a legitimate purpose, [2] that the inquiry may be
relevant to the purpose, [3] that the information sought is not already within the Commissioner’s
possession, and [4] that the administrative steps required by the Code have been followed[.]”
United States v. Powell, 379 U.S. 48, 57-58 (1964). The Government’s burden of showing such
compliance is “minimal.” United States v. White, 853 F.2d 107, 111 (2d Cir. 1988); United States
v. Davey, 543 F.3d 996, 1000 (2d Cir. 1976).


                                                24
      Case 1:24-mc-00594-JPC           Document 3       Filed 12/17/24     Page 30 of 33




Fedwire and CHIPS handle only U.S.-based or U.S.-dollar-denominated transfers, records of wire

transfers sent over these services involving the TT-Group will assist the IRS in identifying U.S.

taxpayers who may have used the TT-Group’s services for tax avoidance. Id. ¶¶ 238, 240, 242,

244. The IRS further expects that these records may reveal the identities of banks used by the TT-

Group other than those already known to the IRS, which in turn may assist the IRS in identifying

additional unreported taxable income. Id.

       Third, the summonses to the U.S. Correspondent Banks seek bank records for

correspondent accounts of foreign banks used by the TT-Group that are material and relevant to

the IRS’s investigation. Id. Exs. G–M. This includes specific correspondent accounts that the IRS

knows have been used by the TT-Group, as well as other correspondent accounts of foreign banks

that are used by the TT-Group. See, e.g., id. ¶¶ 122–30, 257. As discussed above, correspondent

banks are used by domestic owners of offshore accounts to access those accounts remotely, and to

facilitate the transfer of U.S. dollar-denominated funds. Id. ¶¶ 56, 246. The IRS expects the

correspondent account records to identify U.S. clients of the TT-Group and to reflect information

about those clients’ use of foreign entities to conceal assets. Id. ¶ 248. For example, records of

deposits should contain evidence of payments to the TT-Group from its U.S. clients, and cancelled

checks may reflect evidence of payments made by the TT-Group either to its U.S. clients or on

their behalf. Id. ¶ 249–50. The correspondent account records should also include the names,

addresses, and financial account numbers of members of the John Doe class. Id. ¶ 250.

Additionally, the anti-money laundering records requested from the summonsed correspondent




                                               25
      Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 31 of 33




banks may reveal aliases, pseudonyms, or nominees of U.S. taxpayers who have used the TT-

Group’s services to facilitate U.S. tax evasion. Id. ¶ 251–54. 8

       Fourth, the summons to Nevis Services is squarely targeted at obtaining records that will

help the IRS identify U.S. persons who used this TT-Group affiliate to establish, maintain, operate,

or control offshore structures and financial accounts of TT-Group’s U.S. clients. See Ex. A. The

information sought consists of (1) client identity information such as client questionnaires, Know

Your Customer files, client account opening forms, and entity formation documents;

(2) transaction information such as documents reflecting U.S. client activity, documents reflecting

asset transfers to foreign entities, invoices billed to clients, and billing information captured from

online payments; and (3) beneficial ownership information such as Know Your Customer files,

account signature cards, powers of attorney, communications involving entity and account

establishment, entity formation documents, and client information forms and questionnaires. Id.

¶ 201–19. The requests for client identity information are directed at adequately identifying John

Doe class members so that transactional and account data can reasonably be associated with

particular persons. See id. ¶¶ 201–08. Transaction information requests are directed at adequately

identifying whether taxable events took place. See id. ¶¶ 209–13. And beneficial ownership and

control information requests are directed at adequately identifying the true beneficial owners

(usually the persons who also have ultimate control over the assets) in the face of various

mechanisms designed to conceal this information. See id. ¶¶ 214–19.

       Moreover, Nevis Services is likely to have information responsive to these narrowly

tailored requests. Information available to the IRS indicates that the TT-Group and its entities,


8
 The summonses to the banks are not duplicative of the summonses to Federal Reserve NY and
Clearing House because the correspondent accounts will have records of fund transfers that did
not go through either the Fedwire or the CHIPS systems. Id. ¶ 250.


                                                 26
      Case 1:24-mc-00594-JPC            Document 3        Filed 12/17/24      Page 32 of 33




including the domestic entities, collect information about their clients. Id. ¶¶ 75–76. This

information includes the identity of TT-Group clients, which will help the IRS identify U.S.

taxpayers who may fail or have failed to comply with U.S. tax laws. Id. This information is not

readily available from other sources. Id. ¶ 134, 197. Nevis Services is also likely to have the

transaction information the IRS requests in the summonses—the IRS knows from the TT-Group’s

public websites that its entities keep track of payments they receive for each client and generate

invoices for these payments. Id. ¶ 131, 222. This confidential billing information will not be readily

available from sources outside the TT-Group and its affiliates. Further, Nevis Services records will

contain valuable information about the beneficial ownership and control of foreign entities

established for U.S. taxpayers. Not only do the TT-Group and its affiliates keep record of the

beneficial ownership of assets in its client files, id. ¶ 76, but they also require clients submitting

payment for services to list the offshore entity relating to their payment, id. ¶ 131. Because of the

secretive nature of offshore entities, the information regarding beneficial ownership and control

that Nevis Services possesses will not be readily available from other sources.

       Thus, each of the items sought by the Summonses is narrowly tailored to obtaining

information that may further the IRS’s investigation of the John Doe class and its members’ failure

or potential failure to comply with the internal revenue laws.




                                                 27
     Case 1:24-mc-00594-JPC          Document 3       Filed 12/17/24     Page 33 of 33




                                      CONCLUSION

      For the foregoing reasons, the Court should grant Government’s ex parte petition to issue

the Summonses.

Dated: New York, New York
       December 17, 2024
                                           EDWARD Y. KIM
                                           Acting United States Attorney
                                           Southern District of New York

                                   By:      s/ Anthony J. Sun
                                           ANTHONY J. SUN
                                           Assistant United States Attorney
                                           86 Chambers Street, 3rd Floor
                                           New York, New York 10007
                                           Telephone: 212-637-2810
                                           Email: anthony.sun@usdoj.gov

                                           Attorney for the United States of America




                                             28
